          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:02CR105


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            vs.                           )           ORDER
                                          )
                                          )
GLEN RANDELL RATHBONE                     )
                                          )


      THIS MATTER is before the Court on motion of the Director of the

Bureau of Prisons, by and through the United States Attorney, to reduce

the Defendant’s term of imprisonment to time served pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i).

      Section 3582(c) reads in pertinent part:

      The court may not modify a term of imprisonment once it has
      been imposed except that –
      (1) in any case –
             (A) the court, upon motion of the Director of the Bureau of
      Prisons, may reduce the term of imprisonment . . . after
      considering the factors set forth in section 3553(a) to the extent
      that they are applicable, if it finds that –
             (i) extraordinary and compelling reasons warrant
             such a reduction[.]

18 U.S.C. § 3582(c)(1)(A)(i).




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     The Government advises the Defendant suffers from metastatic

small-cell lung cancer. In 2006, chest x-rays revealed he had an enlarged

right upper lobe lung nodule, and in April 2007,he was diagnosed with

small-cell lung carcinoma. Initially, his cancer responded to radiation and

chemotherapy, but in July 2008, a right lung malignancy was diagnosed

with an increase in adenopathy and additional pulmonary nodules.

Currently, the Defendant receives palliative chemotherapy. He can

perform the Activities of Daily Living without assistance and uses a

wheelchair when needed, however, his prognosis is extremely poor. In

January 2009, his life expectancy was estimated at less than six months.

The Government advises that upon his release from the Bureau of Prisons,

the Defendant would reside with his sister and her daughter in Pisgah

Forest, North Carolina, and that the terms of his supervised release would

include the special condition that he not be permitted to operate a motor

vehicle. The five-year term of his supervised release would begin upon his

release from custody.

     The Court, therefore, finds that the Defendant’s terminal medical

condition and limited life expectancy constitute extraordinary and




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compelling reasons to warrant the requested reduction of sentence and the

motion will be granted.

     IT IS, THEREFORE, ORDERED that the motion of the Director of the

Bureau of Prisons, by and through the United States Attorney, for reduction

of sentence is ALLOWED, and the Defendant’s sentence is hereby

reduced to TIME SERVED.

     IT IS FURTHER ORDERED that the Defendant be released from the

custody of the Bureau of Prisons as soon as his medical condition permits,

the release plan is implemented, and travel arrangements can be made.

     IT IS FURTHER ORDERED that in addition to the standard

conditions of supervised release, the Defendant shall not permitted to

operate a motor vehicle. All other terms and conditions of the original

Judgment remain in full force and effect.

     The Clerk of Court shall prepare an amended Judgment in

accordance with the terms herein FORTHWITH.

                                     Signed: March 31, 2009




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